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Volume 29: Exhibits 428-440




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            Exhibit 428
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5/7/23, 12:42 PM                                      lnstagram CEO Kevin Systrom: We're working on time travel'

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 lnstagram CEO Kevin Systrom: 'We're working on time travel'
Jemima Kiss : 19-25 minutes: 10/2/2015


 Kevin Systrom is posing for a photograph when we meet at lnstagram HQ, arms splayed across the back of a
sleek black sofa, with a knowing grin. "More photos!" he sighs, as he is moved to another spot in the room, with
all the unconvincing exasperation of someone who quite likes having his picture taken. And so he should,
because as the co-founder of lnstagram, he gets asked a lot.

Systrom is a rangy 6ft Sin and prides himself on dressing smartly, by Silicon Valley standards; today he wears a
light grey jacket over his T-shirt, and dark trousers. He seems older than his 31 years and has a certain
swagger, exuding the self-assurance that comes with having built a $35bn technology company and a personal
fortune of around $400m.

In a former life, this meeting room was bland and corporate - white plastic table, grey carpet, black mesh chairs
- but a visit from Al Gore in May last year changed all that, Systrom says. "This," he says, channelling the
former vice-president's scorn, "is an lnstagram meeting room?" He called a designer friend from San Francisco,
who sourced green 1970s chairs and a huge white marble table, customised wallpaper based on staff
fingerprints, and prints of favourite pictures taken by the lnstagram team.

On the other side of the freeway sits Facebook's newest, Frank Gehry-designed office, housing 2,800 in one
giant room. Given lnstagram's strong sense of aesthetic, you'd think they'd mind not having space inside their
mothership, but Systrom insists they operate as a separate company; they are tucked away instead on
Facebook's Menlo Park campus. It's a sprawling, pristine, plain set of buildings from the outside, the former
home of Sun Microsystems, wedged between the freeway and the swampy southern edges of San Francisco
Bay. The receptionist is baffled that I have arrived by public transport; Facebook and lnstagram staff either drive
or are shuttled the 38 miles from San Francisco in luxury coaches with Wi-Fi and air conditioning, presumably
so they can keep working until the last possible moment. Inside, the floor is stripped back to the concrete and
the walls are decorated with motivational posters: "Kick the shit out of Plan B"; "Leadership is best measured by
what people do when you're not around"; "Looking for love in the great forest of like." Inside a central courtyard
there is an ice-cream partour, brightly coloured food stalls, wooden benches and energetic young people
looking as if they are busy changing the wor1d.

Founded five years ago, lnstagram was born during a summer holiday in Mexico's boho beach town of Todos
Santos. Then 26, Systrom was sketching out new app ideas for the aspiring location service Burbn he was
building (users could check in at various locations, and report back on their meet-ups), having already secured
a $250,000 investment. Talking through an idea to introduce photographs to Burbn, Systrom's girlfriend, Nicole
Schuetz, said she wouldn't want to post hers, because they wouldn't look good enough; her iPhone 4 didn't
have a great camera. The answer, they concluded, was to add filters. By the end of the day, Systrom had
created the X-Pro II filter and posted an image of a dog and Schuetz's foot on an earty version of lnsta ram
(codenamed Codename).                                                                                                  EXHIBIT
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'That first picture became everything and more than we wanted it to be," he says, pointing out that the office
coffee table is built around a giant print of that first photograph. "Back then, there was no way of showing what
was going on in your life, as it happened. Facebook was still primarily desktop, Flickr was about uploading from
your SLR camera, and Twitter barely had any photo support. That left this opportunity wide open to share what
was happening in your life visually." lnstagram was born just a few months after the iPhone 4, a way of
disguising its low-quality pictures. Since then, Systrom explains, filter usage has declined as mobile picture
quality has improved. lnstagram itself, however, has done anything but decline, with an unfathomable 40bn
photos shared to date.




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        0systrom with Jamie Oliver, Russell Brand and Liam Payne. Photograph: Getty Images

Did he foresee the size to which the site would grow? "Obviously, we couldn't have predicted the scale, but it
makes sense. Our brains are primarily visual. Letterform was just a hack, until people worked out how to
communicate more perceptually." Comparisons with Guttenberg's 15th-century printing press and its
revolutionary effect are popular with heads of technology firms who clearly hope to have as big an impact. And
it is possible that some of today's biggest tech firms may initiate a new age of enlightenment; it is equally likely
they will implode after a few years and be replaced by the next cool thing. This is Systrom's challenge, to stay
on the right side of that equation.


The rapid growth of lnstagram and its popularity with everyone from designers to photojournalists and
politicians is one of Silicon Valley's favourite fables. Its followers include President Obama (advocating
Obamacare), David Beckham (berating the Daily Mail for criticising his parenting skills) and Kim Kardashian
(trying to break the internet). It makes room for the mundane: plumbers sharing their latest jobs, teachers



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sharing the delight and horror of the classroom. It features bad taxidermy and horrific autopsy shots. It hosts
millions of us. snapping our holidays, our children, our shopping and a disproportionate number of sunsets.

Only 18 months after founding the company, with just 13 employees serving 30 million users, Systrom and co-
founder Mike Krieger found themselves caught in a bidding war between Twitter and Facebook. Mark
Zuckerberg's persistence and deep pockets won out, with a deal eventually worth (after a dip in Facebook's
share price) $736.Sm.

"It was a lot of luck, a lot of opportunity and a lot of hard work," Systrom says now of the deal and the months
that led up to it. "Weekends didn't exist. Mike and I set up an alarm on our phones if the servers were
overloaded and went down, and that went off every four or five hours. Then as we grew, it went off every hour,
or every 15 minutes. To this day, I have a Pavlovian response to that alarm: simultaneous nausea and anxiety.
But it was also a sign of growth, which is a great problem to have. Now it's different problems: what do we work
on, what's our strategy, how do we fend off competitors?"

Why does he think this punishing work culture appeals to so many? "When you're small, it's very hard to
succeed without giving your entire life to this thing. The technology moves so fast and the context - your
competition - changes so quickly that the one advantage you have as a small company is speed. You can pack
three to four working days into one day and gain an advantage."

Silicon Valley is known for being pressurised, highly competitive and stuffed with ambitious people who push
themselves - and sometimes fail to admit they are struggling to cope. Research published in April, by Dr
Michael Freeman at the University of California in San Francisco, found 49% of the entrepreneurs he surveyed
reported a mental health condition; 30% felt depressed (the US average is 8%) and 27% had anxiety concerns.
Suicides of company founders have cast a shadow over the industry, including 22-year-old llya Zhitomirskiy of
Diaspora, 47-year-old Ecomom co-founder Jody Sherman and, in May this year, 31-year-old Austen Heinz of
Cambrian Genomics.




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        OSystrom's favourite accounts include @petesouza, the White House's official photographer, who
        posted this shot

But overwork seems a wor1d away from lnstagram, whose staff seem content in their secure and rapidly
growing company. I am taken on a tour by the publicist, admittedly, but their delight appears genuine ("It's my
dream job!"). Does Systrom feel a duty of care towards his (often very young) team? "People don't work in a
dotcom because they have to," he says. "There are many professions that don't require that sort of time. But
people sign up because they want to make wor1d-changing differences, to build something that affects millions
of people. These are the companies that in just a couple of years can change entire industries." Systrom says
lnstagram conducts anonymous surveys to check the health of its staff, and is respectful of weekends and
families. "You don't win a marathon by sprinting all day," he says, not sounding as heartfelt as when talking
about his ambition to change the world.

Later, I talk to Ashley Yuki, a product manager who oversaw the recent introduction of portrait and landscape
formats to the service. (lnstagram's square format photos are a legacy of Systrom using a Helga camera while
studying photography in Florence, Italy, for one term of his Stanford degree; the switch was big news in
lnstagram world.) Yuki coordinates designers, engineers, marketing and every other team to get new features
out on time. Does she feel Silicon Valley has a long-hours problem? "We are measured on the impact of our
work - the number of people who use it, the feedback from users, the results of what we did - not how many
hours we've worked. That lends itself to a more meritocratic culture. My schedule is flexible and I have lots of
control. We work hard and I like that, so it's a burden and a joy to be the person who can fit all those pieces
together."




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Kevin Systrom was born in the wealthy Massachusetts suburb of Holliston, to a human resources executive
father and a marketing executive mother, who worked at Monster and Swapit during the first dotcom boom. At
Middlesex boarding school in Concord, he started to learn programming. Later, at Stanford, studying
management science and engineering, he interned at Odeo, the company that went on to found Twitter.
Systrom sat next to Jack Dorsey, but that didn't help Dorsey during negotiations to buy lnstagram, which
Systrom and Krieger sold to Facebook for nearly twice Twitter's offer. Dorsey hasn't posted to lnstagram since.

Systrom's life outside work is as carefully curated as his lnstagram feed: he's into fine food, golf, skiing and
holidays at California's Lake Tahoe. His favourite lnstagrammers are @symmetrybreakfast (exactly that),
@everydayafrica, a group of photographers publishing shots from across the continent, and @petesouza, the
White House's official photographer. (He insists he's been to few fashion shows, despite being photographed
on the front row with Alexa Chung, and at awards ceremonies with Diane von Furstenberg and Kim
Kardashian .) He is adept at redirecting unwelcome questions: when I ask if he has any political allegiances,
and joke that he might have an opinion on Donald Trump, a strategic user of lnstagram, he simply says he's not
political. No, he hasn't met Trump; the other presidential candidates campaign just as effectively through his
service, too.




        OWith Kim Kardashian at the CFDA fashion awards in June. Photograph: Getty Images

lnstagram's new "search and explore" feature, rolled out in June for American users only, now highlights
collections of lnstagram accounts - extreme sports, for example, travel or fashion. It is designed to surface
more diverse content, and show what's trending now. Is this editorialising? Systrom resists the word, while
claiming lnstagram has rivalled his experience of television news, most powerfully when users posted hundreds
of pictures of the devastation wrought by Hurricane Sandy, in near real time, in October 2012.

lnstagram began with 25,000 users, on its first day; now, thanks in part to the Facebook deal, it has 400 million
people using the site every month, with 80 million photos shared every day. Systrom says this growth is largely
down to Facebook's considerable resources when it comes to sales advertising, their targeting and relevance
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algorithms, which he claims are helping lnstagram mature more quickly than its rivals. (Research company
eMarketer suggests lnstagram will reach $600m in ad revenue this year, but that this will grow to $2.81 bn in
2017; remarkably, lnstagram is also predicted to have bigger net mobile display ad revenues than Twitter and
Google by then, having introduced more innovative formats.)

While it's hard to see how Systrom could have turned down Facebook - an offer so big, it astonished many in
the tech industry at the time - what would have become of lnstagram if it hadn't signed up? "A lot of great
things have happened," Systrom says. 'There are fun parts of running a startup and not-so-fun parts, and
Facebook handles the not-so-fun parts, like infrastructure, spam, sales. The real questions are, how big can
lnstagram get? Is it 400 million, or bigger? Can it be a viable business if it is that big? These are at the top of
the list for everyone in Silicon Valley."

These are no doubt the kind of questions he puts to Zuckerberg when they meet on campus. The Facebook
founder pursued him aggressively in 2012, then, after making the offer, retired to watch Game Of Thrones while
Systrom made frantic calls to lawyers and investors. The pair meet weekly, inside and outside of work, and by
all accounts have much in common , with Zuckerberg savvy enough to give Systrom the space he needs.

Being under the care of Facebook is a constant reminder of how much bigger lnstagram could be. "At
Facebook [which has 1.5 billion users every month], we're the little kid on the block. If you ask someone on the
street in India if they use lnstagram, they will say no - so that's an opportunity for us." This is what Silicon
Valley's investors love to hear: unapologetic ambitions for global growth, no holds barred .

It's not just Systrom who is making money from the site. Many lnstagrammers claim to be earning a significant
income, including Sharrnadean Reid of @wahnails, Dutch fishmonger Bart van Olphen, who has used its 15-
second videos to build his cookery brand, and New Yorker Liz Eswein, @NewYorkCity, who has 1.2 million
followers and claims to charge advertisers $1 for every "like" on a sponsored photo. The money starts coming
in when you have more than 100,000 followers, which can be worth upwards of £3,000 a month, according to
professional lnstagrammer Brian DiFeo, who founded an agency advising others on how to exploit the service.

Seventy-five per cent of users are outside the US, 14 million of them in the UK. I suggest to Systrom that this is
photo sharing on a massive scale; he disagrees. "Calling lnstagram a photo-sharing app is like calling a
newspaper a letter-sharing book, or a Mozart grand era symphony a series of notes. lnstagram is less about
the medium and more about the network. If you're a business, we have a product so you can buy ads. If you're
a consumer and want to entertain, you can record a 15-second looping video. If you're an artist and want to do
a piece of conceptual art, there's a place for you, too. 'Photo sharing' misses the nuance."


What makes one picture better than the other? An understanding of light is what separates a great
photographer from a mediocre one, says Richard Koci Hernandez, assistant professor of new media at UC
Berkeley's journalism school in San Francisco. "Humans are conditioned to see strong shapes and patterns,
and it's light, combined with capturing that human moment, that can stop people in their tracks ." Hernandez
was one of the first news photographers to document Silicon Valley's smartphone era and has been using
lnstagram since it launched. Yet late last year he deleted more than 1,100 photos from his lnstagram account
because they were making him feel trapped, he says. A year on, he wants to do the same thing again with the



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 70 images he has published since - monochrome lone figures, an atmospheric city, snatched moments of real
 life.




        Ooouble shot latte: London's @symmetrybreakfast, another of Systrom's three favourite accounts

"My images are a reflection of me as a photographer, so is that me? We are all influenced by likes and
comments in a social space, and I have thousands of images and tons of followers." And he does: 235,000 of
them. "That was influencing who I was, and I was thinking too much about what I was posting. We are all trying
to find our voice and find what is authentic, but the comments push you in a certain direction that is less
objective." Hernandez says he would like his images to live momentarily, which is exactly the appeal of
lnstagram's biggest rival, Snapchat, estimated to have 200 million users, many of them younger than
lnstagram's. "That backlog starts to define you," Hernandez says, "but I think we're always different and
evolving. I'd like my images to live a couple of days and then die, so I don't have to remember or be tied."

Hernandez is sanguine about the popularity of selfies and pictures of latte foam; he sees lnstagram as a
collective experiment in visual communication. "That's what humanity does when we get together - we want
everyone to look at us. It's the game we're all playing. Expecting anything more from a medium in its infancy is
too much to ask. I believe in the power of latte foam. Communication has to be homogenous at the start; after
that, the creativity and nuance creeps in, and artists move the medium to the edges." Maybe so, but even Ai
Weiwei uses lnstagram for selfies.

Systrom gives short shrift to the suggestion that his service has been overrun by hipsters and narcissists
uploading pictures of their coffee. "With so many people, it's hard to have uniformity or predictability. There are
performance artists, sports stars, celebrities, people singing and doing Dubsmashes and, yes, hipsters use
tnstagram. But last year we had activist Katie Meyler documenting ebola on the ground, raising awareness of

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the epidemic in a way no one else could. We had stunning photos of the Baltimore riots, the winter storm Juno,
that made the cover of the New York Times. These are not hipster shots of lattes."

Why did lnstagram succeed where other, similar services failed? There was a swath of photo-filter apps
available in 2010 and most fell by the wayside. Systrom puts a large part of his success down to luck; I'd also
put it down to a combination of simple design, improved smartphone cameras and an appetite for a broader
network based on visual images. The service has grown thoughtfully, even cautiously, so that it remains
accessible. But it will need to work hard to compete against the excitement and spontaneity of Snapchat, the
speed and simplicity of text messaging, and photography fatigue (the more pictures we take, the less we seem
to value them). Other challenges lie beyond the horizon, where the biggest threat might now be no more than a
sketch in someone's notebook.

So where does lnstagram go from here? I ask Systrom to imagine the most fantastical feature he could add.
"Imagine a world where virtual reality exists and is ubiquitous, and we have whatever device we need to
experience it. How cool would it be if you were at a concert in the countryside and I could be there with you -
hearing, smelling, seeing it, too? Or the presidential inauguration - that would be amazing. That's what
lnstagram is now, in a very low-fidelity way. I like to say we're working on time travel, but the difference is we're
not sending you there- it's coming to you."




        0An lnstagram post of the Juno storm, New York, January 2015. Photograph: @junowinterstorm

Top of Systrom's priorities right now is his wedding to college sweetheart Schuetz next summer. It will be a local
affair, and combine good food and wine. He has read somewhere that English weddings are traditionally in the
morning so he wants to do that (in California, this counts as eccentric). I tell him it means everyone just gets
more drunk in the afternoon, because there's nothing else to do before the party, and an eyebrow crumples; he

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is trying to work out if this is good or bad. More importantly, will the wedding be on lnstagram? "I don't think we
could get away with not putting it on lnstagram," he concedes. "But I don't think it will trend."

Whatever comes next, Systrom is made for life. He is a model of what success currently looks like in Silicon
Valley - young, white and male, with all the confidence, opportunity and connections that an expensive
education can provide. Five years in and lnstagram has joined the elite group of technology firms now shaping
our world, albeit from a very particular perspective. I'm struck by the disparity between lnstagram, the cool,
sleek world it inhabits on and offline, and the real world outside. We see, we share, but what then?

It is hometime at Facebook as I leave the building and a fleet of pristine luxury buses arrives to ferry everyone
back to San Francisco. I cross the nine lanes of freeway again and pay my $2.10 to catch the bus back over
the Bay. It is a beautiful, hazy evening and for a second I think I might lnstagram it. But I put my phone back in
my bag, rest my head on the window and my eyes catch sight of a seal bobbing up from the water instead.




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                                     UN ITED STATES OF AM ERICA
                              FEDERAL TRADE COMMISSION
                                       W ASH IN GTO N , D .C. 20580




                                         August 22, 2012

Thomas O. Barnett, Esq.
Covington & Burling LLP
1201 Pennsylvania Avenue, NW
Washington, DC 20004-2401


       Re: Proposed Acquisition of Instagram, Inc. by Facebook, Inc. File No. 121-0121


Dear Mr. Barnett:

       The Commission has been conducting an investigation to determine whether the
proposed acquisition of Instagram, Inc. by Facebook, Inc. may violate Section 7 of the Clayton
Act or Section 5 of the Federal Trade Commission Act.

        Upon further review of this matter, it now appears that no further action is warranted by
the Commission at this time. Accordingly, the investigation has been closed. This action is not
to be construed as a determination that a violation may not have occurred, just as the pendency
of an investigation should not be construed as a determination that a violation has occurred. The
Commission reserves the right to take such further action as the public interest may require.

       By direction of the Commission.



                                                          April J. Tabor
                                                          Acting Secretary
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  FEDERAL TRADE COMMISSION,

                     Plaintiff,
                                                          Case No. 1:20-cv-03590-JEB
               v.

  META PLATFORMS, INC.,

                     Defendant.


PLAINTIFF FEDERAL TRADE COMMISSION’S OBJECTIONS AND RESPONSES TO
      DEFENDANT META’S FIRST SET OF REQUESTS FOR ADMISSION

       Pursuant to Rule 36 of the Federal Rules of Civil Procedure, the Federal Trade

Commission (“FTC”), by and through its undersigned attorneys, hereby responds and objects to

Defendant The FTC Platforms, Inc. First Set of Requests for Admission (the “Requests”).

                                  RESERVATION OF RIGHTS

       The FTC’s responses are based solely on information currently available to the FTC

following a reasonable investigation and reflect the FTC’s investigation of facts and discovery of

information and documents relating to the claims and defenses at issue in this case. Accordingly,

the FTC’s responses to these Requests are based only upon the FTC’s current knowledge and

reasonable belief.

                                   GENERAL OBJECTIONS

       The FTC hereby incorporates each of these General Objections and Objections to

Specific Definitions and Instructions into its specific objections and responses to each of the

Requests, whether or not the FTC refers to such objection in its specific response to a specific

Request.


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          1. The FTC objects to the Definitions and Instructions to the extent that they are broader

than, or impose conditions, obligations, or duties that exceed or differ from those required by the

Federal Rules of Civil Procedure.

          2. The FTC objects to each Request, Definition, and Instruction to the extent it is vague,

ambiguous, overly broad, unduly burdensome, or seeks discovery of information that is outside

the geographic scope of the alleged market in the United States.

          3. The FTC objects to each Request, Definition, and Instruction, to the extent it is overly

broad, unduly burdensome, and seeks discovery of information that is beyond the relevant time

period or temporal limitations tethered to the allegations in the FTC’s Amended Complaint.

          4. The FTC objects to each Request, Definition, and Instruction to the extent it is vague,

ambiguous, overly broad, or unduly burdensome.

          5. The FTC objects to each Request, Definition, and Instruction to the extent it seeks

discovery of information that is neither relevant to the claims nor defenses of any party to this

action.

          6. The FTC objects to each Request, Definition, and Instruction to the extent it seeks

information that is outside of The FTC’s possession, custody, or control.

          7. The FTC objects to each Request, Definition, and Instruction to the extent it purports

to require the FTC to produce information beyond what the FTC is able to locate upon a

reasonable search of its own files and from a reasonable inquiry of its current employees.

          8. The FTC objects to each Request to the extent it purports to require the FTC to

generate information that does not already exist.




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       9. The FTC objects to each Request to the extent it purports to require the FTC to provide

information that is publicly available and/or equally available to Meta as to the FTC, and/or has

already been produced to Meta during this litigation.

      10. The FTC objects to each Request to the extent it seeks the discovery of information

that is protected from disclosure by the attorney-client privilege, work-product doctrine, or other

applicable privilege. The FTC intends to and does claim all such protections and privileges. To

the extent privileged or protected information is produced, such production is inadvertent and

shall not constitute a waiver of any privilege or protection.

                        SPECIFIC OBJECTIONS AND RESPONSES

   1. Admit that, in 2012, the FTC conducted a competent and thorough investigation of
      Facebook, Inc.’s proposed acquisition of Instagram.

       The FTC’s investigation of Facebook, Inc.’s proposed acquisition of Instagram was

performed based on the information available to the FTC at that time, taking into account various

factors, including but not limited to: the provisions of the Hart-Scott-Rodino Antitrust

Improvements Act of 1976, which provides, among other things, that the FTC may challenge any

acquisition under any provision of the antitrust laws at any time; policy decisions that may at

certain times be made to permit some transactions to proceed; the availability of information at

the time, including the extent of the information provided by the transacting parties and third

parties; the FTC’s available resources, taking into account other priorities; and other factors. The

FTC notes that “competent and thorough” is not a defined term. Based on the FTC’s

understanding of “competent” and the ordinary understanding of that word, in light of the

foregoing, the FTC admits that its investigation of Facebook, Inc.’s proposed acquisition of

Instagram was “competent.” Based on the FTC’s understanding of the word “thorough,” the

limited information available to the FTC, and the FTC’s understanding of what would constitute


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a “thorough” investigation of such a proposed transaction, the FTC denies that its investigation

of Facebook, Inc.’s proposed acquisition of Instagram was “thorough.”

   2. Admit that, in 2014, the FTC conducted a competent and thorough investigation of
      Facebook, Inc.’s proposed acquisition of WhatsApp.

   The FTC’s investigation of Facebook, Inc.’s proposed acquisition of WhatsApp was

performed based on the information available to the FTC at that time, taking into account various

factors, including but not limited to: the provisions of the Hart-Scott-Rodino Antitrust

Improvements Act of 1976, which provides, among other things, that the FTC may challenge any

acquisition under any provision of the antitrust laws at any time; policy decisions that may at

certain times be made to permit some transactions to proceed; the availability of information at

the time, including the extent of the information provided by the transacting parties and third

parties; the FTC’s available resources, taking into account other priorities; and other factors. The

FTC notes that “competent and thorough” is not a defined term. Based on the FTC’s

understanding of “competent” and the ordinary understanding of that word, in light of the

foregoing, the FTC admits that its investigation of Facebook, Inc.’s proposed acquisition of

WhatsApp was “competent.” Based on the FTC’s understanding of the word “thorough,” the

limited information available to the FTC, and the FTC’s understanding of what would constitute

a “thorough” investigation of such a proposed transaction, the FTC denies that its investigation

of Facebook, Inc.’s proposed acquisition of WhatsApp was “thorough.”

   3. Admit that, prior to the Date of Meta’s acquisition of Instagram in 2012, access to
      Meta’s Find Friends API contributed to the growth of the number of Instagram users in
      the United States.

       Subject to the objection that the FTC has not assessed a hypothetical situation in which

Instagram would have attempted to achieve “growth in the number of Instagram users in the

United States” in a different manner if Instagram had not had “access to Meta’s Find Friends


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API,” subject to the objection that the FTC has not assessed a hypothetical situation in which

Instagram had been able to obtain “access to Meta’s Find Friends API” on more favorable or

different terms, and subject to the FTC’s understanding of undefined terms in this Request,

including “growth in the number of Instagram users in the United States,” the FTC answers:

Admitted insofar as “contributed to” may mean that Meta’s Find Friends API may have

contributed at least one additional user in the United States prior to the Date of Meta’s

acquisition of Instagram in 2012.

   4. Admit that if Meta had terminated Instagram’s access to the Find Friends API in 2012
      instead of acquiring Instagram, Instagram’s growth would have “slowed significantly”
      (see Am. Compl. ¶ 155).

       The FTC objects that “slowed significantly” is not a defined term. The FTC’s SAC

states, at Paragraph 155: “First, Facebook targeted promising apps that provided personal social

networking. For example, Facebook took actions against a personal social networking

competitor, Path, which was founded by a former Facebook manager. In or around April 2013,

Facebook terminated Path’s access to key API functionality, and Path’s growth subsequently

slowed significantly.” The FTC further objects because the FTC has not assessed a hypothetical

situation in which Meta terminated Instagram’s access to the Find Friends API in 2012 instead of

acquiring Instagram. On this basis, the FTC answers: Denied.

   5. Admit that, prior to the Date of Meta’s acquisition of Instagram in 2012, the ability to
      share Instagram photos on Facebook contributed to the growth of the number of
      Instagram users in the United States.

       The FTC objects because this Request does not define “ability to share Instagram photos

on Facebook” – based on the information available to the FTC’s, prior to Meta’s acquisition of

Instagram in 2012, users were able to cause “Instagram photos” taken using the Instagram app to

appear on Facebook, and then share said “photos on Facebook” in multiple ways, including but



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not limited to downloading the “Instagram photos” onto a smartphone and re-posting the photos

on Facebook. Based on this understanding of “ability to share Instagram photos on Facebook,”

and subject to the objection that the FTC has not assessed a hypothetical situation in which

Instagram would have attempted to achieve “growth in the number of Instagram users in the

United States” in a different manner if users had not had the “ability to share Instagram photos

on Facebook,” subject to the objection that the FTC has not assessed a hypothetical situation in

which users had been able to obtain the “ability to share Instagram photos on Facebook” on

terms that were more favorable to Instagram or different, and subject to the FTC’s understanding

of undefined terms in this Request, including “growth in the number of Instagram users in the

United States,” the FTC answers: Admitted insofar as “contributed to” could mean that the

ability to share Instagram photos on Facebook may have contributed at least one additional user

in the United States prior to the Date of Meta’s acquisition of Instagram in 2012.

   6. Admit that the term “personal social networking service” – as a term to refer to the
      products or services offered by Facebook, Instagram, Friendster, Google+, MeWe,
      Myspace, Orkut, Path, and Snapchat – appears in no ordinary course business
      documents that have been produced in this Action.

       Denied.

   7. Admit that the FTC is not aware of any company that allegedly provides “personal social
      networking services” that has described its competitors for such service in ordinary
      course business documents as consisting of only other alleged personal social networking
      providers – namely, Facebook, Instagram, Friendster, Google+, MeWe, Myspace, Orkut,
      Path, and Snapchat.

       Denied.

   8. Admit that more than 100 public companies have identified Facebook as a competitor in
      securities disclosures since 2012.

       Denied.




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  9. Admit that YouTube, TikTok, Twitter, Pinterest, LinkedIn, BeReal, Lemon8, and Snapchat
     currently allow users to employ a Social Graph to facilitate communications.

     Denied.

  10. Admit that TikTok, YouTube, Twitter, Pinterest, LinkedIn, BeReal, Lemon8, and Snapchat
      include features that users employ to maintain personal relationships and share
      experiences with friends, family, and other personal connections in a shared social
      space.

     Denied.

  11. Admit that since 2012, third parties, including Industry Participants, have destroyed,
      deleted, or failed to preserve documents relevant to this Action.

     Denied.




Dated: May 4, 2023                                 Respectfully submitted,

                                                   By: /s/ Daniel Matheson
                                                   Daniel Matheson (D.C. Bar 502490)
                                                   Krisha Cerilli (D.C. Bar 983281)
                                                   Maria Dimoscato (D.C. Bar 489743)
                                                   Patricia Galvan
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     Case 1:20-cv-03590-JEB Document 324-33 Filed 04/05/24 Page 22 of 73




                              CERTIFICATE OF SERVICE

       I hereby certify that on May 4, 2023, I caused true and correct copies of the foregoing
PLAINTIFF FEDERAL TRADE COMMISSION’S OBJECTIONS AND RESPONSES TO
DEFENDANT’S FIRST SET OF REQUESTS FOR ADMISSION to be served via electronic mail
on counsel listed below:

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Introducing lnstagram Direct Message I lnstagram Blog
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Today, we're excited to bring you lnstagram Direct, a new way to send photo and video messages to friends.

Over the past three years, the lnstagram community has grown to over 150 million people capturing and
sharing moments all around the globe. As we've grown, lnstagram has evolved not only into a community of
photographers, but also into a means of visual communication. From a photo of your daily coffee to a sunrise
shared from the top of a mountain hike, every lnstagram moment contains something you find special -
something you broadcast to your followers when you tap "share."

There are, however, moments in our lives that we want to share, but that will be the most relevant only to a
smaller group of people - an inside joke between friends captured on the go, a special family moment or even
just one more photo of your new puppy. lnstagram Direct helps you share these moments.

From how you capture photos and videos to the way you start conversations through likes and comments, we
built lnstagram Direct to feel natural to the lnstagram experience you already know. When you open lnstagram,
you'll now see a new icon in the top right corner of your home feed. Tap it to open your inbox where you'll see
photos and videos that people have sent to you . To send a photo or video to specific people, tap the camera
button to enter the same simple photo or video capture and editing screens. At the top of the share screen,
you'll see the option to share with your followers ("Followers") or to send to specific people ("Direct"). To send
using Direct, tap the names of the people you want to send your photo or video to, write your caption, tap
"send" and you're done.

After sending, you'll be able to find out who's seen your photo or video, see who's liked it and watch your
recipients commenting in real time as the conversation unfolds.

Photos and videos that you receive from people you follow will appear immediately. If someone you're not
following sends you a photo or video on lnstagram, it will go to your requests so you can decide if you want to
view it.

To learn more about lnstagram Direct, check out help.instagram.com .

lnstagram for iOS version 5.0 is available today for download in Apple's App Store, and lnstagram for
Android version 5.0 is available today on Google Play. lnstagram for Windows Phone is in beta. Stay
tuned for future updates.




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Introducing Instagram Direct Improvements | Instagram
Blog
□ about.instagram.com/blog/announcements/introducing-instagram-direct-improvements




Introducing Improvements to Instagram Direct

September 01, 2015




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We launched Instagram Direct in 2013 as a way to share moments with one person or a
smaller group. Now more than 85 million people use Direct every month to send inside jokes,
family videos, photos from road trips and other moments meant only for a handful of people.
Today we’re announcing improvements to Instagram Direct including threaded messages
and sending content from your feed as a Direct message.

Threaded messages make it easier to go back and forth with the people you talk to the most.
Instead of creating a new conversation every time you send a photo or video, your threads
are based on the people in them — and your moments flow along naturally. We’ve also
added the ability to name your groups, a quick camera feature to respond with a selfie on the
fly, and larger-than-life emoji for when there are just no words.

Today’s updates also bring a brand new way to start conversations around what you see on
Instagram. When you find something inspiring or funny, your first instinct is often to share it
with friends who you know will appreciate it. Today, people do this by @-mentioning friends
in comments, so much so that nearly 40% of comments include an @-mention. This update
has made it easier to share content that you love.

Now, you’ll find an arrow next to the like and comment icons under every post. Tap it to send
that post to a friend or group as a message using Instagram Direct. It will appear as part of
your conversation, and you can tap the photo or video to see and like the original post. You
can also send hashtag pages and location pages by tapping the arrow icon in the top right-
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Privacy works the same way as it always has on Instagram. Photos and videos sent using
Direct are only visible to people who could already see them. If the owner of a photo or video
has their account set to private, only people who follow their account will be able to see it if
it’s sent as a message in Direct. And, as always, you own your photos and videos — today’s
updates do not change that.

With these changes to Direct, it’s easier to connect around the things you love. We hope it
helps bring the community closer together than ever.

To learn more about today’s updates to Instagram Direct, check out the Instagram Help
Center.

Instagram for iOS version 7.5 is available today in Apple’s App Store, and Instagram for
Android version 7.5 is available today on Google Play.



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View More
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                             Introducing Instagram Stories

                                                    (9 August 02, 2016




           Today, we’re introducing Instagram Stories, a new feature that lets you share all the moments
           of your day, not just the ones you want to keep on your profile. As you share multiple photos
           and videos, they appear together in a slideshow format: your story.


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           With Instagram Stories, you don’t have to worry about overposting. Instead, you can share
           as much as you want throughout the day – with as much creativity as you want. You can bring
           your story to life in new ways with text and drawing tools. The photos and videos         Logwill
                                                                                                        in
           disappear after 24 hours and won’t appear on your profile grid or in feed.




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                      YourStory jacksonbarnett   ninanyc




           You’ll see stories from people you follow in a bar at the top of your feed – from your best
           friends to your favorite popular accounts. When there’s something new to see, their profile
           photo will have a colorful ring around it.

           To view someone’s story, just tap on their profile photo. It’s easy to view stories at your own
           pace: tap to go back and forward or swipe to jump to another person’s story. If you want to
           comment on something you see, you can tap and send a private message to that person on
           Instagram Direct. Unlike regular posts, there are no likes or public comments.




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           Your story follows the privacy settings of your account. If you set your account to private,
           your story is visible only to your followers. However, you can also easily hide your entire story
           from anyone you don’t want to see it, even if they follow you. When watching your own story,
           swipe up to check out who’s seen each photo and video. You can even choose to feature a
           particular part of your story by posting it on your profile.




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           Instagram has always been a place to share the moments you want to remember. Now you can
           share your highlights and everything in between, too.

           Instagram Stories will be rolling out globally over the next few weeks on iOS and Android. To
           learn more, check out the Help Center.




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           announcements about
           product
https://perma.cc/P4WV-K3FT                                                                                                     4/6
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           #ANNOUNCEMENTS #PRODUCT #INSTAGRAM                                              Log in
           Instagram Announces New Ways to Create Music                                                   ➔
           with Friends

           #ANNOUNCEMENTS #CREATORS #PRODUCT #INSTAGRAM
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           Instagram Reels Templates Upgrades

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           Instagram Announces New Text App




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            Exhibit 436
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Engineering the lnstagram Stories Team
ell instagram-engineering.com/engineering-the-instagram-stories-team-e 16ec62e364d
lnstagram Engineering                                                                            December 2, 2016


Earlier this year, we pivoted around the idea of making lnstagram a place for all your
moments - the highlights and everything in between. In August, we introduced lnstagram
Stories as a new way to share moments as they happen, without the pressure of saving
them to your profile. And it's been amazing to see the response from the community -                      in
less than three months , more than 100 million people already use it every day.

Launching Stories was both invigorating and nerve-wracking. We made countless changes
to our mobile apps and infrastructure to make it globally available to over 500 million people
within a day (no pressure). And given all the moving pieces, we expected issues. While
nothing ever goes off without a hitch , in retrospect, our launch was one of the smoothest I've
experienced - certainly at this scale. Having managed teams for large scale products and
services at startups and more established companies , I wanted to reflect on what made this
project go well , and what we could have done to make it go more smoothly. If only there was
a simple formula for success!

Building great software is tricky, and so is building great teams to build great software. Let's
take a look at a few themes from the Stories project.


Great Teams, Great Challenges

I am fortunate to work with incredibly smart individuals , but great talent is not enough to
make a high-performing team . To set a team up for success, a manager needs to understand
the individuals' needs, but more importantly, the needs of the team as a whole . Most often ,
simply ask and listen before figuring out how to help.

During early development, the Stories team encountered constant iteration and shifts in
direction that could have easily resulted in endless thrash if we didn't keep an eye on the
overall health of the team. We reviewed the product as a group about every two weeks , but
still weren't aligned . Based on ongoing observations and feedback from the team , we
periodically made team and process adjustments .

Fortunately, we're not big on process at lnstagram. To ideate more efficiently, we challenged
our product direction to align on a shared vision , trimmed the set of key stakeholders ,
rebalanced the team based on shifting workload , and held frequent (even daily) reviews with
our founders Kevin and Mike.
                                                                                     5/17/2023

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Much like there can be a lifecycle in software development, there can also be one for a team.
Bruce Tuckman 's model of group psychology is interesting - he classified research into a
set of states a group can be in: forming , storming , norming, and performing. While it's not
necessary to typecast a team into one of these states, this model can provide a framework to
determine what actions to take to help a team thrive.

As important as it is to be open to changes that support a team , it's just as vital to know
when to get out of the way. The Stories team had incredibly high output and focus , and
making changes for the sake of it could have destabilize productivity and morale.


Product Came Into Focus
It was an amazing moment when we locked in our final direction. After many months of
prototyping other ideas, the team had faith in the creative process and ultimately landed on a
product approach that felt right. As one team member expressed , it's hard to stop a group of
smart people working together on something they all believe in . All stakeholders need to
believe, as this reinforces morale, helps maintain focus , and ultimately fuels productivity.
With the team united on the product, things really started to fall into place and we could shift
into execution .


Composition Is Critical

Much like composition in photography can significantly alter the effect of the result, so can
the composition of a team . At an earlier point in the project, we noticed an imbalance
between the workload , size, and makeup of the team . We were overstaffed , so we offered a
few engineers other impactful projects to work on . Whether through proactive or reactive
efforts , minimal staffing was most helpful during prototyping stages.

As a mobile-first product, we also learned it was healthy to loosely couple development
across iOS and Android , even while prototyping. We did not strive for feature parity, but high
level functionality kept good pace across platforms . Rather than having one platform always
lead and the other follow, both platforms led.

This created some interesting dynamics. Some features were further along on iOS , while
others were further along on Android . We were able to leverage more engineers by spanning
platforms. This also allowed for more cross-pollination of ideas and solutions , especially as
we built the same functionality across platforms within a short time span . This encouraged a
healthy pace as one team that introduced a feature influenced another to get to parity
quickly, and vice-versa. For example , we experimented with different animation transitions
when swiping between stories . The final cube transition we ultimately chose landed on
Android first and got the team excited to promptly add it to iOS. More importantly, by working
on platforms in parallel , both teams were able to innovate at the same time, instead of having
team A work through engineering challenges followed by team B to focus on porting .

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It was also critical to have a healthy mix of talent on the team. We had incredibly strong
technical leads per mobile platform (one of whom doubled as the technical lead for the
project as a whole) along with a lead for our backend services. They all worked well within
their own respective tracks , with each other, and cross-functionally across engineering ,
product, design , and analytics . Each lead was accountable for technical progress and had a
voice in shaping the product. In addition to staffing leads , we had engineers who were simply
great at prototyping quickly, which helped get the product into actual hands and let us
frequently vet the user experience.

Once we locked in our final product direction , the team grew with volunteers across the
company, each with key skills to efficiently expedite development and help get the project
over the finish line. We formed tracks to focus on camera infrastructure, creative tools , and
core product. After we shipped , we once again rebalanced to support a more stable state
workload while preserving the platform leads structure .


Tough Deadline: Friend or Foe?

Craft is one of lnstagram's values and applies throughout our work, including product design ,
code, and quality. Maintaining a commitment to quality and attention to detail with an
ambitious deadline can be a challenge, and sometimes it can be a unifying force . Once we
were happy with our product direction, we discussed a shipping timeline that we knew was
aggressive. Nevertheless, fueled by determination and excitement to share Stories with the
world, the team signed up for it.

This forced us to ruthlessly prioritize and focus on the minimum viable product. This kept with
one of lnstagram's core principles of doing the simple thing first. Although we were tempted
to include more features in the initial release , we carefully decided when to do so.

The team steadily and tirelessly worked on our most important tasks, but as the date drew
closer we realized we needed help. Soon , members from numerous other teams stepped up
to assist. Even Mike pitched in with camera improvements and neon drawing. We continued
to make progress, and soon found our whole company was eager to help. Apart from getting
valuable feedback from employees from actively dogfooding Stories, we held a company-
wide bug bash . Participation was truly company-wide , including Kevin and Mike.

With our target date a few weeks away, I mentioned to Mike that despite everyone's
amazing effort, it still felt like we were coming in hot. Mike responded , "We are, but if we give
ourselves more time we'll be tempted to add scope." We stuck with our launch date, the team
kept at it.

While having an ambitious target pushed the team well past its comfort zone of working hard,
that was not sustainable as the norm. But our deadline bonded the team closely together for



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a common, albeit really challenging goal, and ultimately brought the whole company closer
together. This is still paying dividends today.


World-Class Infrastructure Helps

Not too long before launch , our infrastructure team scrambled to ensure our capacity would
exceed increased expected demand. That's not always easy at the scale lnstagram has, but
the team was able to respond swiftly. We are fortunate to build product with amazing
infrastructure, supported by teams who are maniacally focused on performance, quality, and
developer velocity.

Our server stack includes open source components like Django and Cassandra along with
internal systems like Facebook Tao. Some of the mobile tools and libraries we benefitted
from are open source like IG JSON Parser, IG Disk Cache, IGListKit UICollectionView data
binding framework for iOS , Rebound animation library for Android , and FLEX developer tool
for iOS. We also leveraged exceptional tools and services from our friends at Facebook that
helped us easily collect and analyze data that we can trust. lnstagram's ongoing investments
in client and system infrastructure have enabled our product teams to build and deploy
quickly and at scale .


Rinse and Repeat?

While these are some factors that contributed to a successful Stories launch , there were
countless others like having trust in one another, strong communication , grit, openness,
empathy, and diversity. Perhaps one of the most important meta takeaways is to anticipate
and embrace change. Projects and teams are dynamic, and these takeaways certainly aren't
a checklist to follow. Be prepared to draw your own conclusions to what makes your projects
successful.

The path to get Stories into the hands of our community has been an amazing and humbling
experience . As an engineer, nothing is more rewarding than giving people a new platform to
express themselves at massive scale. We have so much more to do, and I'm grateful and
excited to work with our fantastic teams on the next chapter.

Eddie Ruvinsky is an Engineering Director who leads several product engineering groups at
lnstagram.




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Curate Instagram Stories for Close Friends Only
□ about.instagram.com/blog/announcements/curate-instagram-stories-for-close-friends-only


November 30, 2018

Starting today, you can make a close friends list on Stories and share with just the people
you’ve added. Instagram Stories has become the place to express yourself and share
everyday moments, but our community has grown and sometimes what you want to share
isn’t for everyone. With Close Friends, you have the flexibility to share more personal
moments with a smaller group that you choose.

To add people to your list, go to your profile and tap on “Close Friends” in the side menu.
Only you can see your close friends list and no one can request to be added, so you can feel
comfortable adjusting it at any time. When you share to Stories, you’ll see the option to share
with just the people on your close friends list. If someone has added you to their list, you will
see a green badge when you’re viewing their stories. You’ll also see a green ring around
their profile photo in the Stories tray.

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Close Friends will be rolling out globally today on the latest version of Instagram for iOS and
Android. To learn more, check out the Instagram Help Center.

View More
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A year of Stories: Launching is the easy part
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lnstagram Engineering                                                                                       December 20, 2017


One year ago today we launched lnstagram Stories to the world. We knew we were making
a major change to a product that hundreds of millions of people around the world love and
use daily. The weight of this responsibility - plus the opportunity to create something new
and delightful for the lnstagram community - drove the team to do our best work. After
months spent discussing, designing, and building , the final weeks of the project were both
stressful and rewarding as the whole company came together to make the launch a success.




                                  Photo credits: @pamelachen and @johnbarnett

... And then it was out there. The urgency of shipping quickly gave way to anxious
anticipation . With eyes glued to metrics dashboards, we waited to see how the community
would respond . Within a few weeks , we could see a clear pattern of growth that indicated we
had found market fit. This is where the real journey began .


How do you transition from the intensity of shipping to the sustained
focus needed to succeed in the long run?

Shipping a new product is characterized by focused intensity, but maintaining a growing
product is all about balance. Balance between adding new features and keeping the app fast
and stable; between structured prioritization of work and providing opportunities for creativity
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and fresh ideas ; between bringing new features to market quickly and patient craftsmanship ;
between maintaining a small, tight-knit team and attracting contributors with new skills and
perspectives.

It's impossible to strike these balances perfectly. The best you can hope for is to make the
right correction when you sense things are going too far in one direction . Here are a few
examples of how we found balance over the past year.


Balance Adding New Features With Stability and Performance
Leading up to the launch, we went through an exercise to prioritize all the outstanding
feature work to determine what would be included in the first version. Cutting unnecessary
features is an important discipline to practice when launching and maintaining a product. Our
product manager, Nathan Sharp, worked with the team and our leadership to create a
burndown list of feature work so engineers and designers always knew the next high-priority
item whenever a project was completed . The features on this list were inspired by feedback
from the community, user research , and our own intuition. We particularly sought out
opportunities to parlay lnstagram's strengths as a platform into delightful new experiences.


@ mentions

Thinking along these lines led to one of our first significant feature updates, @mentions. We
noticed a trend of story posts that called out other accounts by mentioning them with an @
symbol. We realized we could enhance this experience to support social context, discovery,
and distribution .

@mentions align well with our mission of strengthening relationships using lnstagram 's
graph of friends and interests to share who you're with or who you 're thinking about. We also
took advantage of lnstagram Direct messaging as a way to send notifications about mentions
privately so the mentioned person could enjoy the moment as well. The Stories viewer
receives extra metadata so the mention text is interactive and navigates the user to the
mentioned account's profile.



Creating new experiences like @mentions was a constant source of motivation for the team ,
but we also realized the importance of balancing new feature work with improving the quality
of existing features. We designed our engineering schedule to include breaks in new feature
development fo r dedicated performance and quality sprints. Refactoring code to be more
flexible , improving logging, fixing crashes , and performance tuning were recognized as
equally valuable uses of time. In fact, some of these engineering-driven projects led to some
of our largest increases in user engagement.




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For example, iOS engineer Ryan Olson worked with Rui Wang , a backend engineer in our
New York office , to develop a flexible system to control media fetching based on user
behavior. This enables optimization for story viewer responsiveness without impacting other
parts of the user experience. These improvements drove large gains in story consumption
participation and story impressions, and also increased participation in story production . The
wins we saw outside of the directly affected area demonstrate that making the product
perform better in one area drives overall engagement, as users receive a higher quality and
more enjoyable experience.


Balance Structured Priorities with Opportunities For Creativity

Thanks to our burndown list, the engineering team always knew the next priority - whether
it was a new feature or a prioritized bit of performance and stability work. This structure
helped the team plan and distribute work among engineers, but still allowed flexibility to
pursue innovative new ideas.

A core value of the Stories team culture is appreciation for creativity and initiative. We know
that good ideas can come from anyone on the team , regardless of their role , and we
encourage engineers to prototype ideas they are excited about. Often these ideas make their
way into the app , and the opportunity to influence the roadmap motivates us and continually
infuses the product with fresh ideas.


Creative tools

A great example of this was the development of our "Selfie Sticker" feature. Eric Smith , a
product engineer on iOS, realized that sometimes you want to show your reaction to a
moment in your story. He developed a prototype that added a selfie camera overlay to a
post, which would take a picture and include it as a sticker in the final render. Everyone on
the team loved the feature so we shipped it. The community has embraced selfie stickers
and we see new creative uses of it every day.

Another example of an engineering-driven feature was Rewind . In order to build our sticker
pinning feature, we needed to be able to backtrack through a video to find where a pixel
region was at the beginning. In the process of building this, we developed an approach for
reversing videos that we thought might be fun as a new capture format. After sharing a few
ridiculous videos of team members reverse jumping off tables and chairs we were convinced.
Because the engineering work was essentially a by-product of another feature we were
already working on , the relative cost of shipping Rewind was low. We shipped it and the
community has enjoyed having a new creative tool to tell their stories.


Balancing Moving Fast With Craftsmanship


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At lnstagram our engineering motto is "Do the simple thing first". The idea is not that you
should cut corners, but that you should try to distill the problem you are solving into its
simplest form and solve it with focus and quality. Asking , "Am I doing the simple thing first?"
is a great test to apply when you 're building the first version of a product, but how does that
translate to V2 , V3, and V(n)? It's actually just the same rule on a new baseline, or you could
say "Do the next simplest thing next. " By adding complexity in layers , you maintain the
velocity to deliver a steady stream of improvements to the product.

The discipline of doing the simple thing first is balanced with an appreciation for details and
craft. Sometimes a little extra finishing touch can make a huge difference in how delightful
the product is to use. Good product engineers are able to get to the core of what a feature is
trying to accomplish , implement that goal as simply as possibly, and polish it to a mirror
finish .


Stickers on Android
One example of the type of craftsmanship we va lue was the work of Kevin Jung on the
Android sticker UI. The mockups called for a blurry translucent background behind the
sticker drawer so the photo or video beneath could show through . Android does not provide
a built-in component for achieving this , and falling back to a darkened layer didn 't feel right in
our UI. Kevin decided to develop a reusable component for blurring the contents below a
view. The component paints a Drawable with a sampled down capture of the view hierarchy
beneath it and processes the blur through a fast native library. This BlurDrawable can even
handle playing video by capturing frames from a TextureView and merging them with the rest
of the hierarchy. There are challenging memory and performance constraints to overcome in
order to make this component work smoothly on a wide range of Android devices, but the
time investment was worth it. That blurry background really ties the room together.


Balance Maintaining Core Values With Expanding the Team

The sprint to launch Stories was both stressful and inspiring. The team cared deeply about
bringing this experience to our community and we spent long hours working toward our goal.
Memories of sleeping bags in conference rooms and weekends spent polishing all the rough
edges come to mind , but this bonded the team with a shared vision and values of
collaboration , ownership , and creativity. This enabled us to work well together and achieve
the balances needed to grow the product over the past year.

As Stories grew to be a more and more prominent part of the lnstagram experience , we
looked for people to join the team who shared our values, but also brought new perspectives
and skills to the project. New engineers filled out the team, like Nick Freeman , our first
dedicated server engineer; Timothy Kukulski , who implemented a cross platform system for




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our creative drawing tools; Bogdan Chiritoiu , who helped launch camera effects on Android ;
and Shiyi Zhao, who led the stickers project on iOS. We grew at a sustainable pace to
ensure our values were maintained and enhanced as new people joined.

We also collaborated with other teams to share the responsibility of growing Stories. Sharing
our vision and values with these teams helped us function as one. An example of this was
our work to enable face effects in Stories , which was one of the top requests from our
community. The investment required to quickly build a camera effects platform from scratch
was prohibitive, so we looked beyond our team for assistance. Frank Du , our camera tech
lead , coordinated with a core technology team to integrate a shared camera platform that
enables these kinds of effects . During the integration process, Frank guided the team toward
simplicity and craftsmanship , resulting in improvements to the library that allowed us to
integrate it with our codebase and make it better for all consumers.


The Next Chapter
Today lnstagram Stories has over 250 million active users and is continuing to grow. It's hard
to imagine lnstagram without Stories at this point; however, from the moment the project
began , success was never guaranteed . In the past year, the team found the intensity and
focus to launch and the balance to maintain and grow the product. I've mentioned just a few
of the people who worked so hard to get us where we are today, but there are many more
talented engineers contributing in big and small ways every day. We 're all looking forward to
the next year of challenges and bringing new ways for our community to strengthen
relationships and share experiences. We 'll need more help in the coming year so if you are
excited about this mission , P-lease consider joining us!

Will Bailey is an engineer on the Stories team.




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Doubling Up on Instagram Live with Live Rooms
□ about.instagram.com/blog/announcements/doubling-up-on-instagram-live-with-live-rooms


March 2, 2021




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Today, we’re introducing Live Rooms, giving you the ability to go Live on Instagram with up to
three people. Previously, you could go live with only one other person in a stream, but we’re
now letting you “double up” on your live broadcast.




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We hope that doubling up on Live will open up more creative opportunities – start a talk
show, host a jam session or co-create with other artists, host more engaging Q&As or
tutorials with your following, or just hang out with more of your friends.

Live Rooms also gives creators even more ways to build a business and earn money. We
recently announced that Live viewers could purchase badges for their favorite creators to
show their love. With Live Rooms, viewers can buy badges for the hosts and use other
interactive features like Shopping and Live Fundraisers. We’re also exploring more
interactive tools such as offering moderator controls and audio features that will be available
in the coming months.

Since the beginning of the COVID-19 crisis, we’ve seen people on Instagram embrace Live
in different ways. In the past year, special moments have happened on Live, including
informational talks about science and COVID-19 guidelines, interviews with celebrities and
record-breaking rap battles. Creators of all kinds – from fitness instructors to musicians,
beauty bloggers, chefs and activists, all relied on Live to create moments and bring people
together to reach their communities in creative ways. We can’t wait to see what more
creativity comes from this highly-requested update.

“Your following knows you individually, but what happens when four
creators come together? That curiosity is what we want to keep alive. What
was special about our Live Rooms stream is that all our different followers
got the chance to see four of us talk about something we universally love.”

— @artinayar


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                                      Go Live in a Room

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How it works
To start a Live Room – swipe left and pick the Live camera option. Then, add a title and tap
the Rooms icon to add your guests. You’ll see people who have requested to go live with
you, and you can also search for a guest to add. When you start a Live Room, you’ll remain
at the top of the screen when you add guests. As a broadcaster, you can add up to three

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guests at once or one by one (for example, you could start with two guests, and add a
surprise guest as the third participant later! ) Going live with multiple guests is a great way
to increase your reach, as guests’ followers can also be notified.

“Being able to have open, face-to-face conversations on Instagram Live has
helped us capture attention and connect directly with our millions of
Roommates. We’re excited to use Live Rooms to expand our reporting
capabilities, engage with our followers, and to continue growing our
platform.”

— Angelica Nwandu, founder of media company @theshaderoom




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We want Instagram to be the best place for creators to have meaningful conversations with
their audiences and each other, and we designed this new update with safety in mind.
People that are blocked by any of the active participants in the Live Room will not be able to
join the Live. Guests who have had live access revoked because of violations of our
Community Guidelines also won’t be able to join a Live Room. Features that are currently
available to Live hosts, such as the ability to report and block comments, and apply comment
filters will also be available to hosts of Live Rooms.

This update is another step forward in giving creators more ways to reach and interact with
their audiences. Live Rooms will soon be available globally for everyone on Instagram.

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New: Save Your Live Video to Your Phone
□ about.instagram.com/blog/announcements/new-save-your-live-video-to-your-phone


March 20, 2017

Starting today, you’ll have the option to save your live video to your phone at the end of a
broadcast. While live videos will continue to disappear from the app when you’re done, this
update gives you the flexibility to hold onto your video and re-watch it later, especially if
something exciting happens during your broadcast that you want to remember or share.

After your live broadcast ends, tap Save in the upper right corner. You’ll only be able to save
your video – not the comments, likes, number of viewers or any live interactions. After
saving, tap Done and your live video will be saved to your camera roll but will no longer be
available in the app.




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We are excited by how our community is using live video to connect with their friends and
followers in the moment. This is just the first of many improvements we’ll be making to live
stories this year.

To learn more about today’s updates, check out the Instagram Help Center.

These updates are available as part of Instagram version 10.12 available for iOS in the
Apple
- - - -App
       - - -Store
            - - - and for Android in Google Play.

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